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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
                   CASE NO. 1:22-CV-20224-WILLIAMS

   HUBERT ARTURO ACEVEDO,
      Plaintiff,

   vs.

   CITY OF MIAMI;
   COMMISSIONER JOE CAROLLO;
   COMMISSIONER ALEX DIAZ DE LA PORTILLA;
   ARTHUR NORIEGA; and
   COMMISSIONER MANOLO REYES,
        Defendants.
   _________________________________/

   DEFENDANT COMMISSIONER CAROLLO’S MOTION TO DISMISS
     COMPLAINT WITH PREJUDICE; REQUEST FOR HEARING

         Pursuant to Federal Rule of Civil Procedure 12(b)(6), defendant

   Commissioner Joe Carollo seeks dismissal of the Complaint

   (“Complaint”) (DE1) as to the only Count against him, Count II,

   alleging “Retaliation in violation of the First Amendment.” At its core,

   the Complaint asserts that Acevedo, the former City of Miami Police

   Chief, was targeted and then terminated by Commissioner Carollo

   and the entire City of Miami Commission after a mere six (6) months

   on the job, allegedly in retaliation for speaking out as the police chief.

   The Complaint must be dismissed because it fails to state a legally

   cognizable First Amendment retaliation claim against Commissioner

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   Carollo acting in his official capacity.

        Dismissal is required at this stage of the case because

   Commissioner Carollo is protected by the doctrines of legislative

   immunity and qualified immunity from suit, since the conduct

   alleged in the Complaint occurred during the course and scope of his

   official authority as a City of Miami elected official. Accordingly, this

   Court should dismiss Count II with prejudice inasmuch as repleading

   will not address the fundamental pleading deficiencies.

           INCORPORATION OF CODEFENDANTS’ MOTIONS

        As set out in his separately filed Motion to Adopt and Join in

   Motions to Dismiss Filed by Codefendants (DE26), Commissioner

   Carollo asks to adopt the positions of his codefendants as applicable

   to his defenses. Consequently, this Motion to Dismiss is intended to

   promote judicial efficiency by not duplicating the introduction and

   factual background information or the meritorious arguments and

   legal analysis contained in the other motions.

                         REQUEST FOR HEARING

        Defendant Commissioner Carollo seeks a hearing pursuant to

   Local Rule 7.1(b)(2) for no more than two (2) hours. For the reasons

   in this motion and the companion motions to dismiss filed by the

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   codefendants, a hearing will allow the parties to present and discuss

   the application of the qualified and legislative immunities that bar

   this litigation against the City of Miami elected officials. The need for

   Commissioner Carollo and his legislative colleagues to obtain a full

   resolution of the immunity defenses prior to having to participate in

   extensive and intrusive litigation is of the utmost importance. The

   Court can seek input from the parties as to any concerns raised by

   the pleadings. All defendants join in the request for a hearing.

   Plaintiff does not agree to a hearing.

    LEGAL STANDARD TO DISMISS COMPLAINT FOR FAILURE TO
                      STATE A CLAIM

        Rule 12(b)(6) allows dismissal for “failure to state a claim upon

   which relief can be granted.” While the court must “accept[] the

   allegations in the complaint as true and constru[e] them in the light

   most favorable to the plaintiff[,]” Am. Dental Ass’n v. Cigna Corp., 605

   F.3d 1283, 1288 (11th Cir. 2010) (internal quotation marks omitted),

   “courts may infer from the factual allegations in the complaint

   obvious alternative explanations, which suggest lawful conduct

   rather than the unlawful conduct the plaintiff would ask the court to

   infer.” Id. at 1290 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).


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        “To survive a motion to dismiss, a complaint must contain

   sufficient factual matter, accepted as true, to state a claim to relief

   that is plausible on its face.” Ashcroft v. Iqbal, id. at 1949. A plausible

   entitlement to relief exists “when the allegations in the complaint

   traverse the thresholds separating the ‘conclusory’ from the ‘factual’

   and the ‘factually neutral’ from the ‘factually suggestive.’” Barton v.

   Florida, 2007 WL 1724943, 2007 U.S. Dist. Lexis 100486 (N.D. Fla.

   2007)). The Court need not accept unsupported conclusions of law or

   of mixed law and fact. Marsh v. Butler County, Ala., 268 F.3d 1014,

   1022 (11th Cir. 2001).

        “On a motion to dismiss, ‘[c]onclusory allegations and

   unwarranted deductions of fact are not admitted as true,”

   particularly “when the conclusory allegations contradict the other

   facts alleged in the complaint.” See Berry v. Coleman, 172 Fed. App’x

   929 (11th Cir. 2006); see also Battle v. Cent. State Hosp., 898 F.2d

   126, 130 n.3 (11th Cir. 1990) (“allegations that are contradicted by

   other allegations in the complaint may also constitute grounds for

   dismissal”). The Court is not required to ignore factual details of the

   pleading in favor of general or conclusory. See Griffin Indus., Inc. v.

   Irvin, 496 F.3d 1189, 1205-06 (11th Cir. 2007). A district court may

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   take judicial notice of certain facts without converting a motion to

   dismiss into a motion for summary judgment. See Bryant v. Avado

   Brands, Inc., 187 F.3d 1271, 1278 (11th Cir. 1999). “Public records

   are among the permissible facts that a district court may consider.”

   Universal Express, Inc. v. U.S. S.E.C., 177 Fed. App’x 52, 53 (11th Cir.

   2006). Therefore, the October 11, 2021 Suspension Memorandum

   attached to the Motion to Dismiss by Commissioner Diaz de la Portilla

   (DE24), while not essential to a dismissal, nonetheless undermines

   Acevedo’s conclusions in the Complaint and provides affirmative

   reasons to order a dismissal with prejudice.

                        GROUNDS FOR DISMISSAL

        A.    Commissioner Carollo Is Entitled to                Legislative
              Immunity for Actions Taken in his                  Legislative
              Function as a Commissioner.

        Legislative immunity is a form of absolute immunity protecting

   a legislator from having to answer for conduct in a civil lawsuit.

   Mitchell v. Forsyth, 472 U.S. 511, 525, 105 S. Ct. 2806, 2815 (1985);

   see Harris v. Deveaux, 780 F.2d 911, 913 (11th Cir. 1986) (“Absolute

   immunity is meant to protect not only from liability, but from going

   to trial at all.”). Legislative immunity protects lawmakers from suit

   for their legislative acts. Scott v. Taylor, 405 F.3d 1251, 1254 (11th

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   Cir. 2005). The absolute immunity protecting legislative functions is

   not limited to merely the passing of bills and ordinances but also

   encompasses “conduct in the furtherance of their duties.” Hernandez

   v. City of Lafayette, 643 F.2d 1188, 1193 (5th Cir. 1981), cert. denied,

   455 U.S. 907, 102 S. Ct. 1251 (1982). “The absolute immunity of

   legislators, in their legislative functions, ... now is well settled.”

   Harlow v. Fitzgerald, 457 U.S. 800, 807, 102 S. Ct. 2727, 2732 (1982)

   (citations omitted); see Tower v. Glover, 467 U.S. 914, 920, 104 S. Ct.

   2820, 2824 (1984) (“The Court has recognized absolute §1983

   immunity for legislators acting within their legislative roles....”). The

   Supreme Court extended absolute immunity to state and local

   legislators. Lake Country Estates, Inc. v. Tahoe Regional Planning

   Agency, 440 U.S. 391, 99 S. Ct. 1171 (1979); Tenney v. Brandhove,

   341 U.S. 367, 71 S. Ct. 783 (1951). “[L]ocal legislators are entitled to

   legislative immunity in this Circuit.” Executive 100, Inc. v. Martin

   County, 922 F.2d 1536, 1539 (11th Cir.), cert. denied, 502 U.S. 810,

   112 S. Ct. 55 (1991); Ellis v. Coffee Cnty. Bd. of Registrars, 981 F.2d

   1185, 1189 (11th Cir. 1993).

        “[O]fficials seeking absolute immunity must show that such

   immunity is justified for the governmental function at issue.” Hafer

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   v. Melo, 502 U.S. 21, 27, 112 S. Ct. 358, 363 (1991) (citation omitted).

   The Eleventh Circuit “has decided that ‘the absolute immunity

   inquiry’ is determining whether the local legislators were engaging in

   legislative activity in the particular case under consideration.” Brown

   v. Crawford County, 960 F.2d 1002, 1011 (11th Cir. 1992) (quoting

   Espanola Way Corp. v. Meyerson, 690 F.2d 827, 829 (11th Cir. 1982),

   cert. denied, 460 U.S. 1039, 103 S. Ct. 1431 (1983)). And “subjective

   motivations are irrelevant to absolute legislative immunity.” Ellis v.

   Coffee Cnty. Bd. of Registrars, 981 F.2d at 1192.

         Analysis of the Complaint must be on the objective conduct of

   Commissioner Carollo and two other elected commissioners acting as

   elected commissioners, whose duties and responsibilities are set out

   in the City Charter. The actions described in the Complaint include

   policy discussions at Commission meetings, deciding policy matters

   for the City, making budgetary considerations and legislation

   involving the Miami Police Department, and voting on whether the

   City Manager’s termination of the police chief was appropriate as a

   matter of City policy. Because the challenged actions uniquely involve

   the   exercise    of   legislative   prerogative   “in   furtherance    of

   [Commissioner Carollo’s] duties” involving the legislative function, he

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   and his Commission colleagues are protected by absolute legislative

   immunity. Hernandez v. City of Lafayette, 643 F.2d at 1193.

        Commissioner       Carollo’s   legislatively   immunized     conduct

   encompasses the introduction of legislation and all commentary

   made during and in connection with City Commission meetings as

   made plain in the Complaint (Complaint ¶¶28-34, 56-64, 74-75, 108-

   124, 126-138, 140-142, 152-164, 171, 173, 175, 188-200, 201-211,

   219-228). Commissioner Carollo’s legislative immunity further

   extends   to   the   entirety of the       inquiries, fact-findings, and

   investigations that are a necessary extension of the Commission’s

   policy-making function.

        O’Boyle v. Sweetapple, 187 F. Supp. 3d 1365, 1373 (S.D. Fla.

   2016), is sufficiently analogous to this case. There, the plaintiff

   claimed that an ordinance enacted to regulate where people may park

   their cars “violated his First Amendment rights because the

   motivation for its enactment was to suppress his” protected speech.

   Id. at 1373. The retaliation claims failed because an allegedly

   improper motivation for enacting an otherwise neutral ordinance

   does not constitute First Amendment retaliation. Id.

        Similarly, in this case, the Complaint describes actions taken

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   by commissioners in furtherance of their legislative obligations,

   including   fact-finding,    making     inquiries,   conducting    district

   inspections, speaking out about perceived violations of zoning and

   code enforcement ordinances as a matter of public policy priorities,

   and voting on legislation that Acevedo viewed as retaliatory. These

   actions, all taken within the scope of a commissioner’s duties, were

   part and parcel of Commissioner Carollo’s legislative. His duties are

   not limited to merely voting on legislation; they also encompass

   conduct     intended    to   further    the    Commission’s     legislative

   responsibilities. Because an objective reading of the conduct

   contained in the Complaint is consistent with the “legitimate sphere

   of legislative activity[,]” absolute legislative immunity applies here.

   Eastland v. United States Servicemen’s Fund, 421 U.S. 491, 503, 95

   S. Ct. 1813, 1821 (1975).

        The Eleventh Circuit “has construed legislative acts as ‘an

   integral part of the deliberative and communicative processes’

   regarding the consideration and action of a legislative body for

   matters statutorily placed within its jurisdiction.” Ellis v. Coffee Cnty,

   981 F.2d at 1192 (quoting Gravel v. United States, 408 U.S. 606, 625,

   92 S. Ct. 2614, 2627 (1972)). As the Supreme Court explained,

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   “immunity is justified and defined by the functions it protects and

   serves, not by the person to whom it attaches.” Forrester v. White,

   484 U.S. 219, 227, 108 S. Ct. 538, 544 (1988); Yeldell v. Cooper Green

   Hosp., Inc., 956 F.2d 1056, 1062 (11th Cir. 1992) (“It is the nature of

   the act which determines whether legislative immunity shields the

   individual from suit.”). The nature of the challenged conduct is

   objectively consistent with Commissioner Carollo’s exercise of his

   legislative mandate, such that Commissioner Carollo is protected

   from suit by absolute legislative immunity. Accordingly, the

   Complaint based on conduct in furtherance of the legislative

   prerogative must be dismissed with prejudice.

         B.    Commissioner Carollo, in his Capacity as a Municipal
               Elected Official, Is Entitled to Qualified Immunity.

         The doctrine of qualified immunity compels dismissal of the

   Complaint with prejudice. “The doctrine of qualified immunity

   protects government officials from liability for civil damages insofar

   as their conduct does not violate clearly established statutory or

   constitutional rights of which a reasonable person would have

   known.” Stanton v. Sims, 571 U.S. 3, 5-6, 134 S. Ct. 3, 4-5 (2013)

   (quoting Pearson v. Callahan, 555 U.S. 223, 231, 129 S. Ct. 808, 815


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   (2009)). Qualified immunity is “an immunity from suit rather than a

   mere defense to liability; and like an absolute immunity, it is

   effectively lost if a case is erroneously permitted to go to trial.” Scott

   v. Harris, 550 U.S. 372, 376, 127 S. Ct. 1769, 1773-74 (2007). This

   immunity recognizes the “strong public interest in protecting public

   officials from the costs associated with the defense of damages

   actions.” Crawford-El v. Britton, 523 U.S. 574, 590, 118 S. Ct. 1584,

   1592-93 (1998). These costs, as explained in Harlow v. Fitzgerald,

   457 U.S. 800, 814, 102 S. Ct. 2727, 2736 (1982), can be

   insurmountable, implicating life and career consequences. See

   Gregoire v. Biddle, 177 F.2d 579, 581 (2d Cir. 1949), cert. denied, 339

   U.S. 949, 70 S. Ct. 803 (1950).

         Qualified immunity “is intended to ‘allow government officials to

   carry out their discretionary duties without the fear of personal

   liability or harassing litigation, protecting from suit all but the plainly

   incompetent or one who is knowingly violating the federal law.’”

   Brown v. City of Huntsville, 608 F.3d 724, 733 (11th Cir. 2010)

   (quoting Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002)); Grider

   v. City of Aubern, Ala., 618 F.3d 1240, 1254 (11th Cir. 2010).

         To state a retaliation claim, a plaintiff must establish the

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   existence of constitutionally protected speech, that the defendant’s

   conduct adversely affected the protected speech, and a causal

   connection between the retaliatory actions and the adverse effect on

   speech. Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005).

   The Complaint does not satisfy these elements.

               1.   Commissioner Carollo’s Conduct Is Within His
                    Discretionary Authority.

         For qualified immunity to apply, the public official must first

   establish that actions were taken within the allowable scope of

   discretionary authority. Gray ex rel. Alexander v. Bostic, 458 F.3d

   1295, 1303 (11th Cir. 2006) (quoting Lumley v. City of Dade Cty., Fla.,

   327 F.3d 1186, 1194 (11th Cir. 2003)). “After the defendant has

   established that he was acting in a discretionary capacity, ‘the

   burden shifts to the plaintiff to show that qualified immunity is not

   appropriate.’” Brooks v. Powell, 800 F.3d 1295, 1306 (11th Cir. 2015)

   (quoting Lee, 284 F.3d at 1194). “To meet this burden, a plaintiff

   must establish that (1) his complaint pleads a plausible claim that

   the defendant violated his federal rights (the ‘merits’ prong), and that

   (2) precedent in this Circuit at the time of the alleged violation ‘clearly

   established’ those rights (the ‘immunity’ prong).” Wall-DeSousa v.


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   Florida Dep’t of Highway Safety and Motor Vehicles, 691 F. App’x 584,

   589 (11th Cir. 2017); Carollo v. Boria, 833 F.3d 1322, 1328 (11th Cir.

   2016). A complaint must be dismissed when it fails to allege a

   violation of a clearly established right. Williams v. Bd. of Regents of

   the Univ. Sys. of Ga., 477 F.3d 1282, 1300 (11th Cir. 2007).

         During the actions alleged in the Complaint, Commissioner

   Carollo and his legislative colleagues addressed matters well within

   their discretionary functions expressly authorized by the City

   Charter.    Part    1.A,   Section   4(d)    of     the     Charter     empowers

   commissioners to make “inquiry” as to the operations of the City

   itself.   Indeed,   commissioners      are        elected    as   the    people’s

   representatives, charged with the public policy responsibility to

   assure the public health, safety, and welfare of the entire City. Under

   the City’s form of governance, the “buck stops” with the Commission.

   Section 4(d) authorizes commissioners to work with and through the

   City Manager and to interact with “subordinates of the city manager.”

   One such “subordinate” is the Chief of Police with whom the

   Commission may engage “for the purpose of inquiry and as may be

   necessary as provided in section 14.” Miami City Charter, Section

   4(d). In furtherance of that Charter authority, Commissioner Carollo

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   and the entire Commission are duty-bound to conduct relevant

   inquiries into the activities of the various City departments.

         The allowable inquiries challenged by Acevedo in the Complaint

   include determining how the Chief is managing the Police

   Department, whether the Department is responsibly using its

   budgetary resources, and questioning whether the Department is

   “top-heavy” in its administrative staff at the expense of street patrol

   or other policy objectives of the City Commission. Whether or not

   Acevedo approved of that inquiry, the Commission and the

   commissioners are ultimately charged (and tested) by the public with

   safeguarding the voters’ interests. These inquiries are decidedly

   within the scope of the commissioners’ discretionary duties.

         Inquiry into the City’s finances and the conduct of any City

   official, including the Chief of Police, is specifically identified in

   Section 14 of the City Charter. That includes looking into whether a

   department head, such as the police chief, is acting against dedicated

   City staff members and thereby engaging in an abuse of authority.

   Just as the Complaint asserts, it is within the authority of the

   Commission to obtain information from City officials, especially when

   it occurs on the Commission dais at a publicly noticed Commission

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   meeting inquiring about the actions of a possibly out of control police

   chief. Not only are these actions allowable, but it might be

   responsibly said that a commissioner who fails to make inquiry into

   the uses of City resources and the means for exercising authority is

   abdicating his or her responsibility to the public.

         On this Complaint, Commissioner Carollo’s official actions are

   entirely consonant with his discretionary authority as a public

   official. When viewed in the context of the City Charter, the

   Complaint is capable of only one interpretation: Carollo’s actions

   “were (1) undertaken pursuant to the performance of his duties, and

   (2) within the scope of his authority.” Harbert Int’l, Inc. v. James, 157

   F.3d 1271, 1282 (11th Cir. 1998). This “inquiry is not whether it was

   within the defendant’s authority to commit the allegedly illegal act.”

   Id. at 1282. “Instead, a court must ask whether the act complained

   of, if done for a proper purpose, would be within, or reasonably

   related to, the outer perimeter of an official’s discretionary duties.”

   Id. The conduct attributable to Commissioner Carollo is well within

   allowable authority empowering commissioners to exercise all

   corporate and political power conferred upon the City by the Florida

   Constitution, Florida laws, and the Miami-Dade County Home Rule

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   Charter. See Turk v. Richard, 47 So. 2d 543, 544 (Fla. 1950)

   (recognizing authority of legislators to act in matters affecting the

   public interest in addition to official legislative decisions).

         The conduct described in the Complaint is within the

   Commissioner’s authority and does not state a plausible claim of

   First Amendment retaliation as required by Ashcroft v. Iqbal, 556 U.S.

   at 677-678, 129 S. Ct. at 1949 (“A claim has facial plausibility when

   the plaintiff pleads factual content that allows the court to draw the

   reasonable inference that the defendant is liable for the misconduct

   alleged.”); Dermer v. Miami-Dade Cnty., 599 F.3d 1217, 1220 (11th

   Cir. 2010). Commissioner Carollo’s alleged role in conducting factual

   inquiry and seeking relevant information, but not ordering staff to

   make decisions, does not state a plausible claim of First Amendment

   retaliation. Acevedo’s conclusory allegations suggesting otherwise do

   not buttress the implausible. See Berry v. Coleman, 172 Fed. App’x

   929 (11th Cir. 2006) (“On a motion to dismiss, ‘[c]onclusory

   allegations and unwarranted deductions of fact are not admitted as

   true,’ particularly “when the conclusory allegations contradict the

   other facts alleged in the complaint”).

               2.   Commissioner Carollo Did Not Violate a Clearly

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                    Established Right.

         “[T]o survive a defense of qualified immunity, it ‘must be obvious

   to every reasonable person in [the defendant’s] place that [the

   defendant’s     conduct]    would     violate   federal   law.”’   Building

   Empowerment by Stopping Trafficking, Inc. v. Jacobo, No. 12-23925-

   CIV, 2013 U.S. Dist. LEXIS 139336, at *4, 2013 WL 5435729, at *4

   (S.D. Fla. Sep. 27, 2013) (citing Beauregard v. Olson, 84 F.3d 1402,

   1404 (11th Cir. 1996)). For First Amendment retaliation, a defendant

   “will only rarely be on notice that his actions are unlawful” because

   it requires balancing “legal determinations that are intensely fact-

   specific and do not lend themselves to clear, bright-line rules.”

   Maggio v. Sipple, 211 F.3d 1346, 1354 (11th Cir. 2000). “Likewise, in

   determining contested issues of causation, the defendant is entitled

   to qualified immunity [w]here the facts assumed for summary

   judgment purposes . . . show mixed motives (lawful and unlawful

   motivations).” Brannon v. Finkelstein, 754 F.3d 1269, 1278-79 (11th

   Cir. 2014).

         The Complaint does not establish that Commissioner Carollo’s

   conduct unlawfully retaliated against Acevedo for his protected

   exercise of free speech. It is not enough for a complaint to claim

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   retaliation. The right must be clearly established in a “particularized”

   sense, so that “the contours of the right” are clear enough for any

   reasonable official to know that what the official is doing violates that

   right. Anderson v. Creighton, 483 U.S. 635, 640, 107 S. Ct. 3034,

   3039 (1987). Courts “look for a case based on materially similar

   facts.” Randall v. Scott, 610 F.3d 701, 715 (11th Cir. 2010).

         As the City pointed out in its Motion to Dismiss (DE17, pp. 12-

   18), the “speech” described in the Complaint is not protected by the

   First Amendment. Government employees have a more restricted

   scope of First Amendment protection when speaking about matters

   within their official sphere. Garcetti v. Ceballos, 547 U.S. 410, 418,

   126 S. Ct. 1951, 1958 (2006) (“When a citizen enters government

   service, the citizen by necessity must accept certain limitations on

   his or her freedom.”). Police officers have less First Amendment

   protections. Lawrenz v. James, 852 F. Supp. 986, 991 (M.D. Fla.

   1994), aff’d, 46 F.3d 70 (11th Cir. 1995).

         Here, Acevedo’s speech as described in the Complaint was not

   (1) in the context of speaking as a citizen and (2) did not involve a

   matter of public concern. Indeed, the only way Acevedo could have

   spoken as he did was because he possessed the confidential

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   information as Police Chief that was unavailable to the citizen at

   large. And his memorandum that is at the center of his Complaint is

   focused solely on self-preservation, not an overriding public interest.

   Pickering v. Bd. of Educ., 391 U.S. 563, 568, 88 S. Ct. 1731, 1734-35

   (1968); Vila v. Padron, 484 F.3d 1334, 1339 (11th Cir. 2007) (“When

   a public employee speaks as an employee on matters of personal

   interest and not as a citizen upon matters of public concern, the First

   Amendment is not implicated.”).

         This Complaint does not give rise to an actionable First

   Amendment retaliation claim to overcome the qualified immunity

   defense. No reasonable elected official would be on notice that acting

   within given authority could subject the official to litigation for

   violating clearly established law.

               3.   Commissioner Carollo Was Not on Notice that His
                    Actions Violated a Clearly Established Right.

         An objective analysis of the Complaint provides no allowable

   basis for a reasonable public official to conclude the conduct violated

   well-established law. Rigdon v. Georgia Bd. of Regents, 2008 WL

   11348453, at *6 (S.D. Ga. June 27, 2008) (citing Harlow v. Fitzgerald,

   457 U.S. 800, 818, 102 S. Ct. 2727, 2783 (1982) (“We therefore hold


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   that    government    officials    performing       discretionary   functions

   generally are shielded from liability for civil damages insofar as their

   conduct     does   not   violate     clearly      established   statutory   or

   constitutional rights of which a reasonable person would have

   known.”)). As a matter of law for this “core qualified immunity

   analysis[,]” Johnson v. Clifton, 74 F.3d 1087, 1091 (11th Cir. 1996),

   the Complaint offers no basis upon which to conclude Commissioner

   Carollo was on actual notice of a civil rights violation. Legislative

   action investigating the use of municipal resources and the exercise

   of municipal power is far from an outlier. Neither Commissioner

   Carollo’s actions nor those of his legislative colleagues were

   reasonably understood to violate clearly established law. Because the

   Complaint does not counter Commissioner Carollo’s showing that his

   conduct was within the scope and furtherance of his discretionary

   authority, the Complaint must be dismissed with prejudice.

                                 CONCLUSION

          Commissioner Carollo is entitled to the protections of qualified

   and legislative immunity at the earliest stage of the case. Dismissal

   for reasons of immunity should be ordered because a fair and

   plausible reading of the Complaint establishes that Commissioner

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   Carollo acted within the discretionary scope and authority of his

   responsibilities.   His   alleged   conduct     did   not   violate   clearly

   established laws. His actions as a City Commissioner-legislator were

   within the legitimate sphere of his policy-making authorization. This

   Court should dismiss the Complaint with prejudice for reasons of

   qualified and legislative immunity and for failure to state a claim of

   First Amendment Retaliation.

                                       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

         I certify on March 14, 2022, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify

   the foregoing document is being served this day on all counsel of

   record either via transmission of Notices of Electronic Filing

   generated by CM/ECF or in another authorized manner for those

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